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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,
               Plaintiff,
                                                         4:16CR3033-RGK-CRZ
        vs.

MICHAEL H. MELCHIOR,                                MEMORANDUM AND ORDER
              Defendant.


        The defendant has moved for reconsideration of this court’s order of detention.
(Filing No. 43).1 No new evidence has been offered in support of Defendant’s motion.

        The defendant is charged with a drug crime under the Controlled Substances Act
(21 U.S.C. § 801 et seq.), for which the defendant could be required to serve ten or more
years in prison. On the government's motion, the court held a detention hearing under the
Bail Reform Act, 18 U.S.C. § 3142(f). The court concluded the defendant must be
detained pending trial.

        There is a rebuttable presumption that no condition or combination of conditions
of release will reasonably assure the defendant’s appearance at court proceedings and the
safety of the community because there is probable cause to believe the defendant
committed a drug crime under the Controlled Substances Act (21 U.S.C. § 801 et seq.),
for which the defendant could be required to serve ten or more years in prison.

        Based on the evidence presented and information of record, the court finds by a
preponderance of the evidence that the defendant's release would pose a risk of
nonappearance at court proceedings, and by clear and convincing evidence that the
defendant's release would pose a risk of harm to the public.

        Specifically, the court finds that the underlying offense occurred as the defendant
was travelling between the Los Angeles area and Chicago. Defendant Melchior’s sons

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 The motion asks for “further review” of my order. (Filing No. 43). The accompanying brief is
offered “in support of his Motion for Reconsideration.” (Filing No. 44). The undersigned
magistrate judge interprets these filings as a Motion for Reconsideration.
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live in Los Angeles and Chicago. When Melchior’s vehicle was stopped in Nebraska,
currency totaling more than $2.4 million dollars was located in the vehicle, along with
evidence of drug-trafficking (ledgers, multiple cell phones, etc.), and heat-sealed
packages of marijuana. While seated in the patrol vehicle during the traffic stop, the
defendant made statements clearly acknowledging that he knew the money was in the
vehicle. He contacted his son in Los Angeles, stated he had “bad news,” and repeatedly
stated he was “Sorry.” (Filing No. 1).

       The following day, Melchior’s home in Chicago was searched.             The officers
seized approximately $600,000, 10 pounds of marijuana, a vacuum sealer, heat-sealer
bags, rubber bands, rubber gloves, 11 Rolex watches, and two vehicles. (Filing No. 1).

       At the first detention hearing, Melchior’s ex-wife and the mother of his sons drove
from Chicago to appear. She had previously told Pretrial Services that she “was not
willing to take full responsibility for the defendant, only provide him with a safe place to
live.” (Filing No. 7, at CM/ECF p. 2). But by the time she appeared at the detention
hearing, she was willing to be the Defendant’s third-party custodian. When asked why
she was willing to do that for an ex-spouse with whom she has maintained very little
contact, she explained her sons had called her crying and begging her to help get their
father out of jail. The court concluded she was highly susceptible to the pleading of her
sons and ex-husband and could not be a relied on to inform the court if the defendant
violated conditions of release.

       Neither son was proposed as a third party custodian: The son in California (who
Melchior called during the stop) is, himself, under investigation for drug trafficking, and
the son in Illinois apparently lives in a small apartment which also serves as his place of
employment.

       For the hearing on defendant’s later-filed motion for release, Defendant’s
proposed third party custodian was Tom Logan, who lives in Chicago, Illinois, is self-
employed, and has highly variable work hours. His ability to truly monitor the defendant
is suspect, and he reported to pretrial services that he was not “crazy” about the defendant
living there for the duration of the court hearings. (Filing No. 22). Logan stated he has
known the defendant for 15 years; co-defendant Brennan has known the defendant for 15
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years. Melchior was charged and convicted of Manufacturing and Delivering a Schedule
II controlled substance in Des Plaines, Illinois 15 years ago. At the time of his arrest,
Melchior had no source of income, but his son in California is willing to support
Melchior if Melchior is released. (Filing No. 7, at CM/ECF p. 2).

       While the court acknowledges that Defendant’s criminal history is not extensive,
the weight of evidence for the currently charged crime is. Based on that evidence,
Melchior was engaged in large scale drug trafficking. Such criminal activity poses a
substantial risk of harm to the public.

       Defendant lacks a job or a stable residence, and he has no contacts with Nebraska.
When considered in the totality, that information, along with Defendant’s statements to
his son in California during the traffic stop, his apparent mobility between California and
Illinois even absent any known source of income, and his sons’ significant efforts,
through their mother, to secure their father’s release after his arrest, provide significant
evidence that defendant’s release will facilitate defendant’s flight to avoid his own
prosecution (and potentially the prosecution of his son) and obstruction of justice.

       The defendant has not rebutted the presumption of detention. Conditions which
restrict Defendant’s travel, personal contacts, and possession of drugs, alcohol, and/or
firearms; require reporting, education, employment, or treatment; or monitor Defendant’s
movements or conduct; or any combination of these conditions or others currently
proposed or available (see 18 U.S.C. § 3142(c)), will not sufficiently ameliorate the risks
posed if the defendant is released.

       Accordingly,
      IT IS ORDERED that Defendant’s motion to reconsider, (Filing No. 43), is
denied.


       March 30, 2016.
                                                 BY THE COURT:
                                                 s/ Cheryl R. Zwart
                                                 United States Magistrate Judge
